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8                            UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10

11   QUY TRUONG, an individual,               Case No.: 8:23-cv-2213
12              Plaintiff,                    COMPLAINT FOR
13        vs.
                                                 (1) VIOLATION OF THE UNRUH
14   QUARTZ HILL, LLC, a limited liability           CIVIL RIGHTS ACT
     company
15                                                   (CALIFORNIA CIVIL CODE
                Defendants.                          §§ 51, 52);
16
                                                 (2) VIOLATIONS OF THE
17                                                   AMERICANS WITH
18                                                   DISABILITIES ACT OF 1990

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                                      COMPLAINT
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1                                                I.
                                              SUMMARY
2

3            1.    This is a civil rights action by plaintiff Quy Truong (“Plaintiff”) for
4    discrimination at the building, structure, facility, complex, property, land,
5    development, and/or surrounding business complex bearing the legal address of 14024
6    Magnolia St, Westminster, CA 92683-4766, Orange County (APN 098-101-13) (the
7    “Property”). Plaintiff is often in the area for dining and entertainment as he lives
8    enjoys the various restaurants and shops located in the area. On this particular
9    occasion he desired to visit the “Le’s Travel” travel agency located on the Property.
10           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
11   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
12   12101, et seq.) and related California statutes1 against Defendant, the owner of the
13   Property QUARTZ HILL, LLC, a limited liability company (“Defendant”).
14                                                   II.
15                                         JURISDICTION
16           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17   for ADA claims.
18           4.    Supplemental jurisdiction for claims brought under parallel California
19   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20   1367.
21           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22                                               III.
23                                              VENUE
24           6.    All actions complained of herein take place within the jurisdiction of the
25   United States District Court, Central District of California, and venue is invoked
26   pursuant to 28 U.S.C. § 1391(b), (c).
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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                                               IV.
3
                                             PARTIES
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           7.     On information and belief, Plaintiff alleges that Defendant is or was at
5
     the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
6
     consists of a person (or persons), firm, company, and/or corporation.
7
           8.     Plaintiff suffers from spina bifida and as a result is unable to walk or
8
     stand without the use of a wheelchair and needs a wheelchair at all times when
9
     traveling in public. Plaintiff is “physically disabled” as defined by all applicable
10
     California and United States laws, and a member of the public whose rights are
11
     protected by these laws. Plaintiff is a resident of Orange County, California. Plaintiff
12
     is not a high frequency litigant as that term is defined under California Code of Civil
13
     Procedure § 425.55. In the twelve (12) months prior to the filing of this lawsuit,
14
     Plaintiff filed seven (7) other accessibility complaints.
15
                                               V.
16
                                              FACTS
17
           9.     On or about September 17, 2023, Plaintiff desired to patronize the
18
     Property. The Property is a sales or retail establishment, open to the public, which is
19
     intended for nonresidential use and whose operation affects commerce.
20
           10.    Plaintiff visited the Property and encountered barriers (both physical and
21
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
22
     enjoy the goods, services, privileges and accommodations offered at the facility. To
23
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
24
     to the following:
25              a. To access the sidewalks, Plaintiff must traverse up a built-up curb ramp
26                that is too steep. To the extent that the curb ramp is intended to be a
27                ramp, it does not have the necessary railings for Plaintiff to safely
28                maneuver up and down.
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1           b. There are no accessible pedestrian routes connecting the various building
2              on the same property site. For example, pathways do not lead to curb
3              cuts. Similarly, pathways are too narrow and steep, thus making it
4              difficult and dangerous for Plaintiff when traveling throughout the
5              Property on his wheelchair.
6           c. The access aisle and/or accessible parking spaces have slopes and cross
7              slopes that exceed 2.0%, including but not limited to ramps that protrude
8              into access aisles creating excessive sloping. Without a level parking
9              space, it becomes difficult for Plaintiff to unload/transfer from his vehicle
10             as his wheelchair rolls.
11          d. To the extent that the ramps protruding onto the access aisle are intended
12             to provide an accessible pathway, the ramps are too steep and do not
13             contain the required handrails, thus making it extremely unsafe for
14             Plaintiff to use because when going up or down the makeshift ramp,
15             Plaintiff can easily lose his balance.
16          e. Parking spaces designated as accessible are not properly marked. For
17             example, paint markings are extremely faded rendering them for all
18             intents and purposes nonexistent. Without a clearly marked accessible
19
               parking space an accompanying access aisle, Plaintiff cannot determine
20
               which spaces will accommodate accompanying access aisles are not
21
               clearly marked.
22
            f. Accessible parking spaces and accompanying access aisles have large
23
               cracks making it dangerous for Plaintiff to travel through in his
24
               wheelchair. The large cracks can cause Plaintiff’s front wheels to get
25
               caught, forcing Plaintiff to come to sudden stop when traveling, which
26
               can cause him and his wheelchair to tip over. Similarly, paths of travel
27
               also have abrupt vertical level changes, which make it difficult and
28
               dangerous for Plaintiff when traveling in his wheelchair.
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           11.    These barriers to access are listed without prejudice to Plaintiff citing
2
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
3
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
4
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
5
     Property.
6
           12.    Plaintiff experienced difficulty, discomfort and embarrassment from the
7
     accessible barriers he encountered. Although he would like to visit the Property
8
     again, he continues to be deterred from visiting the Property because of the future
9
     threats of injury created by these barriers. Plaintiff would return to the Property once
10
     the barriers are removed. Plaintiff desires to return to the Property as he enjoys the
11
     shops located at the Property. Upon Defendant’s correction of the barriers, Plaintiff
12
     would return to the Property to not only patronize the businesses at the Property but
13
     also to ensure that the barriers have been properly removed.
14
           13.    On information and belief, Plaintiff alleges that Defendant knew that
15
     these elements and areas of the Property were inaccessible, violate state and federal
16
     law, and interfere with (or deny) access to the physically disabled. Moreover,
17
     Defendant has the financial resources to remove these barriers from the Property
18
     (without much difficult or expense) and make the Property accessible to the physically
19
     disabled. To date, however, the Defendant refuses to remove those barriers.
20
           14.    On information and belief, Plaintiff alleges that at all relevant times,
21
     Defendant has possessed and enjoyed sufficient control and authority to modify the
22
     Property to remove impediments to wheelchair access and to comply with the
23
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
24
     Defendant has not removed such impediments and has not modified the Property to
25
     conform to accessibility standards.
26
                                               VI.
27
           FIRSTCAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
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1
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
2
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
3
                                      CODE SECTION 51(f)
4
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
5
     14 for this claim and incorporates them herein.
6
           16.    At all times relevant to this complaint, California Civil Code § 51 has
7
     provided that physically disabled persons are free and equal citizens of the state,
8
     regardless of disability or medical condition:
9
           All persons within the jurisdiction of this state are free and equal, and
10
           no matter what their sex, race, color, religion, ancestry, national
11
           origin, disability, or medical condition are entitled to the full and
12
           equal accommodations, advantages, facilities, privileges, or services
13
           in all business establishments of every kind whatsoever. Cal. Civ.
14
           Code § 51(b).
15
           17.     California Civil Code § 52 provides that the discrimination by Defendant
16
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
17
     discrimination provisions of §§ 51 and 52.
18
           18.    Defendant’s discrimination constitutes a separate and distinct violation of
19
     California Civil Code § 52 which provides that:
20
           Whoever denies, aids or incites a denial, or makes any discrimination
21
           or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
22
           every offense for the actual damages, and any amount that may be
23
           determined by a jury, or a court sitting without a jury, up to a
24
           maximum of three times the amount of actual damage but in no case
25
           less than four thousand dollars ($4,000) and any attorney’s fees that
26
           may be determined by the court in addition thereto, suffered by any
27
           person denied the rights provided in Section 51, 51.5 or 51.6.
28
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           19.    Plaintiff continues to be deterred from visiting the Subject Property based
2
     upon the existence of the accessible barriers. In addition to the occurrence in
3
     September 2023, Plaintiff is entitled to $4,000.00 in statutory damages for each
4
     additional occurrence of discrimination under California Civil Code § 52.
5
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
6
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
7
     thus independently justifying an award of damages and injunctive relief pursuant to
8
     California law. Per § 51(f), “[a] violation of the right of any individual under the
9
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
10
     section.”
11
           21.    The actions and omissions of Defendant as herein alleged constitute a
12
     denial of access to and use of the described public facilities by physically disabled
13
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
14
     result of Defendant’s action and omissions Defendant has discriminated against
15
     Plaintiff in a violation of Civil Code §§ 51 and 51.
16
                                              VII.
17
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
18
                  DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
19
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
20
     21 for this claim and incorporates them herein.
21
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
22
     Congress passed “Title III – Public Accommodations and Services Operated by
23
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
24
     entities” which are considered “public accommodations” for purposes of this title,
25
     which includes any “restaurant, bar, or other sales or rental establishment serving food
26
     or drink.” § 301(7)(B).
27
           24.    The ADA states that “[n]o individual shall be discriminated against on
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                                                 6
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     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
2
     privileges, advantages, or accommodations of any place of public accommodation by
3
     any person who owns, leases, or leases to, or operates a place of public
4
     accommodation.” 42 U.S.C. § 12182.
5
           25.    The acts and omissions of Defendant set forth herein were in violation of
6
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
7
     Part 36 et seq.
8
           26.    On information and belief, Plaintiff alleges that the Property was
9
     constructed after January 26, 1992.
10
           27.    On information and belief, Plaintiff alleges that the removal of each of
11
     the barriers complained of by Plaintiff as hereinabove alleged, were at all times herein
12
     mentioned "readily achievable" under the standards §§ 30 l and 302 of the ADA. As
13
     noted hereinabove, removal of each and every one of the architectural barriers
14
     complained of herein were also required under California law. Further, on information
15
     and belief, alterations, structural repairs or additions since January 26, 1993 have also
16
     independently triggered requirements for removal of barriers to access for disabled
17
     persons per § 303 of the ADA. In the event that removal of any barrier is found to be
18
     "not readily achievable," Defendant still violated the ADA, per§ 302(b )(2)(A)(v) by
19
     failing to provide all goods, services, privileges, advantages and accommodations
20
     through alternative methods that were readily achievable.
21
           28.    On information and belief, as of the date of Plaintiff’s encounter at the
22
     Property and as of the filing of this Complaint, the Defendant has denied and continue
23
     to deny full and equal access to Plaintiff and to other disabled persons, including
24
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
25
     access and which discriminate against Plaintiff on the basis of his disability, thus
26
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
27
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
28
                                                  7
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1
     of the ADA. 42 USC§§ 12182 and 12183.
2
           29.     On information and belief, Defendant has continued to violate the law
3
     and deny the rights of Plaintiff and other disabled persons to access this public
4
     accommodation since on or before Plaintiff's encounters, as previously noted.
5
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
6
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
7
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
8
     in violation of the ADA or has reasonable grounds for believing that he is about to be
9
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
10
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
11
     make such facilities readily accessible to and usable by individuals with disabilities to
12
     the extent required by this title."
13
           30.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
14
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
15
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
16
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
17
     to discrimination on the basis of disability in violation of Title III and who has
18
     reasonable grounds for believing he will be subjected to such discrimination each time
19
     that he may attempt to use the property and premises.
20
                                              PRAYER
21
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
22
     as follows:
23
        1. Issue a preliminary and permanent injunction directing Defendant as current
24
     owners, operators, lessors, and/or lessees of the Property to modify the above
25
     described Property and related facilities so that each provides full and equal access to
26
     all persons, including but not limited to persons with physical disabilities who use
27
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
28
                                                   8
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 1
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
 2
     disabilities, and which provide full and equal access, as required by law, including
 3
     appropriate changes in policy;
 4
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
 5
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
 6
     inaccessible public facilities as complained of herein no longer occur, and can not
 7
     recur;
 8
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
 9
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
10
     in this case, all according to proof;
11
        4. Award to Plaintiff all appropriate damages, including but not limited to
12
     statutory damages, general damages and treble damages in amounts within the
13
     jurisdiction of this Court, all according to proof;
14
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
15
     costs of this proceeding as provided by law;
16
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
17
     3291;
18
        7. Grant such other and further relief as this Court may deem just and proper.
19
20

21                                           ASCENSION LAW GROUP, PC

22    DATE: November 28, 2023

23                                                      /s/Pamela Tsao

24                                           Pamela Tsao, attorney for Plaintiff

25                                                      QUY TRUONG

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                                                    9
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